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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION


JAVIER GIOVANNI ARAUJO,
              Movant,

v.                                            No.    3:19-CV-2498-M-BT
                                                     (3:16-CR-478-M (2))
UNITED STATES OF AMERICA,
               Respondent.

             RESPONSE TO MOTION UNDER 28 U.S.C. § 2255




                                       Respectfully submitted,

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                   RESPONSE TO MOTION UNDER 28 U.S.C. § 2255

        Javier Giovanni Araujo seeks to set aside his conviction and sentence under 28

U.S.C. § 2255. (CV Nos. 1, 2.)1 He claims that his counsel rendered ineffective

assistance in more than a dozen ways in this Court and on appeal. Every one of his

claims is meritless. For the reasons explained fully below, this Court should reject his

motion with prejudice.

                                         BACKGROUND

        Araujo and his co-defendant, Mack, began sending each other messages about

sexually abusing children. (CR No. 55 at 3.) They traded photographs and videos of

child pornography. (Id.)

        Araujo and Mack then began discussing their desire to sexually abuse the three-

year old son of Araujo’s roommate. (See id.; see also PSR ¶ 26.) Two days later, Araujo

sent Mack a picture he had taken of the boy showing the victim’s genitals protruding

from his shorts. (CR No. 55 at 3.) Araujo wrote to Mack: “Grr.” (Id.) Araujo sent

Mack two more photos of the three-year old victim. (Id.) When Mack asked Araujo for

a video, Araujo filmed himself touching the child’s genitals and sent the video to Mack.

(Id.)   Araujo also had other victims. For example, he videoed himself receiving oral sex

from a different minor. (Id. at 4.)




1
  “CV No. __” refers to the docket number of this Section 2255 action. “CR No. __” refers to the docket
number of the underlying criminal proceeding, United States v. Araujo, 3:16-CR-478-M (2) (N.D. Tex.).
“PSR” refers to the presentence report, which is docketed at CR No. 68-1.

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       A grand jury charged Araujo with four crimes, (CR No. 39), but he negotiated a

plea agreement to two, (CR No. 54). By written plea agreement, Araujo pled guilty to

conspiring to produce child pornography, in violation of 18 U.S.C. §§ 2251(a), (e), and to

transporting child pornography, in violation of 18 U.S.C. § 2252A(a)(1). (See CR No. 54

(Plea Agreement); CR No. 55 (Factual Resume).)

       At sentencing, this Court sustained Araujo’s counsel’s PSR objections. (CR No.

135 at 7.) Even so, Araujo’s offense level was 43—the maximum offense level under the

guidelines. (Id.) Although that offense level called for a recommended sentence of life,

the guideline range was capped by statute at 600 months. (See PSR ¶¶ 103-04.) This

Court varied downward from that recommendation and sentenced Araujo to 360 months

on Count One, consecutive to 120 months on Count Four—a total of 480 months. (CR

No. 116 (Judgment); see also CR No. 135 at 76 (recognizing that the Court’s sentence

was a “substantial variance in terms of the number of years”).)

       Araujo appealed, but his counsel filed an Anders brief. The Fifth Circuit agreed

that Araujo’s case presented no non-frivolous issues and dismissed his appeal. See

United States v. Araujo, 745 F. App’x 541 (5th Cir. 2018)

       Araujo’s timely Section 2255 motion claims that his counsel was ineffective

during the plea stage, at sentencing, and on direct appeal. (See CV No. 1 at 4-6; see also

CV No. 2.)




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                          ARGUMENT AND AUTHORITIES

       Section 2255

       Under 28 U.S.C. § 2255, a prisoner may apply to the convicting court to vacate,

set aside, or correct his conviction or sentence if it was imposed in violation of the

Constitution or the laws of the United States. A Section 2255 motion, however, “may not

do service for an appeal.” United States v. Frady, 456 U.S. 152, 165 (1982). After

conviction and the exhaustion or waiver of all appeals, the Court is “entitled to presume”

that the applicant “stands fairly and finally convicted.” Id. at 164.

       Section 2255 motions do not automatically require a hearing. See United States v.

Edwards, 442 F.3d 258, 264 (5th Cir. 2006). No evidentiary hearing is needed if the

movant’s showing consists of mere “conclusory allegations,” “or is otherwise

inconsistent with the bulk of his conduct.” United States v. McDaniels, 907 F.3d 366,

370 (5th Cir. 2018).

       Discussion

1.     Araujo’s claims of pre-plea ineffective assistance are meritless.

       Araujo claims that his counsel was ineffective pre-plea by failing to (1)

communicate with him and advise him of the “relevant circumstances and likely

consequences” of pleading guilty, (CV No. 2 at 17); (2) file any “substantive” pre-trial

motions, (id. at 21); (3) conduct an “adequate” pretrial investigation, (id. at 23); and (4)

failing to negotiate a “favorable” plea agreement, (id. at 26). These claims fail because

Araujo has not shown deficient performance and because he has made no attempt to

establish prejudice.

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       Araujo’s ineffective-assistance claims are governed by the two-pronged test

established in Strickland v. Washington, 466 U.S. 668 (1984). First, he must prove his

counsel’s performance was deficient by identifying specific acts or omissions that were

not the result of reasonable professional judgment. Id. at 690. Second, Araujo must

prove that his counsel’s deficient performance resulted in prejudice. Id. at 686. Because

Araujo pled guilty, “[i]n order to satisfy the ‘prejudice’ requirement, [he] must show that

there is a reasonable probability that, but for counsel’s errors, he would not have pleaded

guilty and insisted on going to trial.” Hill v. Lockhart, 474 U.S. 52, 59 (1985).

       A.     There is no merit to Araujo’s claim that his counsel failed to
              communicate.

       Araujo complains that his trial counsel repeatedly urged him to plead guilty to

avoid a longer prison sentence, (CV No. 2 at 18-21), but he has failed to show that

counsel’s advice was objectively unreasonable. Indeed, counsel’s prediction—that

Araujo faced a longer prison sentence if he proceeded to trial—was an accurate risk of

proceeding to trial on all four counts of the superseding indictment instead of pleading

guilty to two counts. (See PSR ¶ 105 (setting out the benefits Araujo received by

pleading guilty and the risks he faced of being found guilty at trial).) And because the

evidence against him was overwhelming, (see PSR ¶¶ 11-20), counsel was correct that a

jury would almost certainly find Araujo guilty. The Fifth Circuit has emphasized that “a

defense lawyer’s stern warnings about the client’s chances of success at trial, the

potential for prison time, and the lawyer’s potential withdrawal do not compromise

voluntariness.” United States v. Cothran, 302 F.3d 279, 284 (5th Cir. 2002). Because


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Araujo has failed to show that counsel’s advice was wrong, he cannot succeed on his

claim that his counsel was ineffective in urging him to plead guilty.

        In addition, Araujo ticks off a list of complaints, including that his counsel failed

to (1) visit him more often, (2) inform him about “court dates, motions, or anything,” and

(3) explain the “general strategy and prospects of success and the likely result in the

sentence he would receive.”2 But nowhere does he allege prejudice—that is, that he

would have insisted on a trial had counsel acted differently. See Hill, 474 U.S. at 59.

Araujo’s failure to even allege prejudice is fatal to his claim for relief. United States v.

Batamula, 823 F.3d 237, 240 (5th Cir. 2016) (en banc) (holding that, at a minimum, the

movant must “allege a non-frivolous prejudice claim”).

        Moreover, there is no evidence in this record on which Araujo could show that he

would have proceeded to trial on all four counts. “The Supreme Court has advised that

‘[c]ourts should not upset a plea solely because of post hoc assertions from a defendant




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  Araujo also claims that his lawyer never told him “about the timeliness of the plea offer,” (CR No. 2 at
18), and he later suggests that the government would have allowed him to plead guilty to a single count if
he had agreed to plead guilty earlier, (see id. at 20). To the extent that Araujo’s motion can be read as
claiming that his counsel failed to convey the terms of an earlier plea offer, see Missouri v. Frye, 566 U.S.
134, 145 (2012), any such claim fails. In Lafler v. Cooper, the Supreme Court addressed how to measure
prejudice “when inadequate assistance of counsel caused nonacceptance of a plea offer and further
proceedings led to a less favorable outcome.” 566 U.S. at 160. To show prejudice under Lafler, Araujo
must show that but for the ineffective advice of counsel there is a reasonable probability that the earlier
plea offer would have been presented to the court (i.e., that the defendant would have accepted the plea
and the prosecution would not have withdrawn it in light of intervening circumstances), that the court
would have accepted its terms, and that the conviction or sentence, or both, under the offer’s terms would
have been less severe than under the judgment and sentence that in fact were imposed. Id. at 164. Araujo
cannot make any of the three Lafler showings—and his claim fails because he makes no attempt to satisfy
the first. Nowhere does Araujo claim that he was willing to accept any earlier plea offer. To the contrary,
he claims that he “kept insisting on wanting to go to trial,” but that his counsel repeatedly urged him to
plead guilty. (CV No. 2 at 20.) Thus, to the extent that his motion can be read as attempting to raise a
claim under Lafler or Frye, that claim would fail.

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about how he would have pleaded’ but ‘should instead look to contemporaneous evidence

to substantiate a defendant’s expressed preferences.’” United States v. Lozano, 757 F.

App’x 348, 353 (5th Cir. 2018) (quoting Lee v. United States, 137 S. Ct. 1958, 1967

(2017)). “‘[C]ontemporaneous evidence’ is the key.” United States v. McClinton, 782 F.

App’x 312, 314 (5th Cir. 2019).

         Araujo has pointed to no contemporaneous evidence that would show that he

would have gone to trial on the charged counts, and there is none in this record. For

example, Araujo never moved to replace his lawyer or withdraw his guilty plea. Cf.

United States v. Cavitt, 550 F.3d 430, 441 (5th Cir. 2008). Rather, Araujo swore that he

was fully satisfied with his counsel’s “advice and [] representation,” (CR No. 132 at 14),

and was “sorry for what [he has] done, sorry for the people that [he] hurt,” (CR No. 135

at 55.) Moreover, Araujo received a substantial benefit by pleading guilty. Instead of

going to trial on four counts against overwhelming evidence, and facing an even higher

advisory-guideline range and statutory-maximum punishment, Araujo limited his

sentencing exposure by pleading guilty to two counts. (See PSR ¶ 105.) Because Araujo

has not alleged, let alone offered contemporaneous evidence to show, that he would have

insisted on a trial had his counsel communicated differently, this Court should reject his

claim.




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       B.     There is no merit to Araujo’s claim that his counsel failed to file “any
              substantive pretrial motions.”

       Araujo faults his trial counsel for failing to file any “substantive pretrial

motions”—including a motion to exclude evidence of prior bad acts under Federal Rule

of Evidence 404(b), for discovery, or for any Brady or Giglio material.

       Because Araujo did not go to trial, there was no occasion for his counsel to move

to exclude evidence of his prior bad acts. In fact, Araujo, who had suffered no prior

convictions (see PSR ¶¶ 66-68), does not even bother to explain what prior-bad-act

evidence his counsel should have sought to exclude from his mythical trial. Because a

defense attorney is under no constitutional duty to file frivolous motions, see United

States v. Kimler, 167 F.3d 889, 893 (5th Cir. 1999), Araujo’s claim fails.

       The same is true of counsel’s decision not to file a motion seeking the production

of material under Brady v. Maryland, 373 U.S. 83 (1963) and/or Giglio v. United States,

405 U.S. 150 (1973). Araujo does not identify any exculpatory information that would

have been discovered had his counsel filed a motion under Brady or Giglio. Nor has he

explained how the filing of such a motion would have altered his decision on whether to

plead guilty. His conclusory allegations are insufficient as a matter of law, so this Court

should reject his claim.

       Similarly, Araujo has failed to show that his counsel was deficient in failing to file

a motion for discovery. Araujo has made no effort to explain: (1) under what rule or

statute his counsel should have sought discovery, (2) what discovery or evidence his

counsel did have, and (3) most importantly, what discovery he claims his counsel should


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have sought that he did not already have.3 Nor has he endeavored to show that such a

motion would have yielded any additional disclosure. But see, e.g., United States v.

Burke, No. 3:12-CR-318-D (1), 2014 WL 6633040, at *5 (N.D. Tex. Nov. 24, 2014)

(denying Burke’s motion for discovery “that the government is required, or has offered,

to disclose under Rules 12(b)(4), 16, and 26.2, the Jencks Act, 18 U.S.C. § 3500, Brady

and its progeny, and/or Giglio and its progeny”).

        Moreover, Araujo draws no link between any such discovery that he

hypothetically would have obtained and his decision to plead guilty. Nor does he point to

any evidence to claim that—had he seen it earlier—he would have insisted on a trial.

Because Araujo has made no effort to show prejudice stemming from counsel’s alleged

deficiency, his claim fails. See, e.g., Medrano v. United States, No. 3:08-CV-2250-N,

2009 WL 1181070, at *2 (N.D. Tex. May 1, 2009) (rejecting the movant’s habeas claim

where “the § 2255 motion lists numerous types of pre-trial motions that trial counsel

could have filed, [but] fails to provide any details whatsoever as to the applicability of

any of the mentioned motions” and also failed to show prejudice).

        C.      Araujo’s failure-to-investigate claim is meritless.

        Araujo’s claim that his counsel failed to “research the case law,” “interview

witnesses,” or “investigate the facts” fails as conclusory. (Cf. CV No. 2 at 23.) “A

defendant who alleges a failure to investigate on the part of his counsel must allege with




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 Araujo seems to concede elsewhere that his counsel reviewed discovery in this case. (See CV No. 2 at
23-34 (claiming that counsel “read[] the government’s case file and discuss[ed] it with the government
prosecutor”).)

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specificity what the investigation would have revealed and how it would have altered the

outcome” of the case. United States v. Green, 882 F.2d 999, 1003 (5th Cir. 1989).

       Here, Araujo has failed to explain what law counsel failed to research or what

witnesses counsel failed to interview. Nor has he offered a theory on how those efforts

would have altered the outcome of his case. Thus, this Court should summarily reject his

conclusory claims.

       Araujo does specifically allege that counsel failed to hire a computer expert, who

could have proved Araujo’s “innocence” by confirming that (1) there was no additional

child pornography on Araujo’s electronic devices, and (2) “that the picture was a fake.”

(See CV No. 2 at 24-25.) This claim fails for several reasons.

       First, “complaints of uncalled witnesses are not favored” on collateral review

because “allegations of what a witness would have testified [to] are largely speculative.”

Buckalew v. United States, 575 F.2d 515, 521 (5th Cir. 1978). “To prevail on an

ineffective assistance claim based upon uncalled witnesses, an applicant must name the

witness, demonstrate that the witness would have testified, set out the content of the

witness’s proposed testimony, and show that the testimony would have been favorable.”

Gregory v. Thaler, 601 F.3d 347, 352 (5th Cir. 2010). Araujo fails to identify any

particular computer expert, much less provide verification of any proposed testimony and

demonstrate that it would have been favorable to the extent that it would have had some

impact on the outcome of his case. His failure to name an expert witness who was

willing to offer an exculpatory opinion is fatal to his claim.



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        Second, any suggestion here that the child pornography Araujo filmed himself

creating was “fake” is absurd—and it is overwhelmingly undermined by Araujo’s sworn

statements, both in his factual resume and at rearraignment.4 Specifically, in addition to

admitting to the details of how he took pictures and videos of himself sexually assaulting

a three-year old, Araujo admitted that he “enticed . . . [the victim] into engaging in

sexually explicit conduct” and did so “with the purpose of producing a visual depiction or

transmitting a live visual depiction of such conduct.” (CR No. 55 at 5, ¶ 11.) The same

holds true with the second video that Araujo made, which also depicted him sexually

abusing a minor boy. For that video, too, Araujo admitted that “he knew the John Doe 2

Video was child pornography because Araujo created the John Doe 2 Video by filming

John Doe 2, who Araujo knew to be a minor child, perform oral sex on Arajuo.” (CR No.

55 at 6, ¶ 15.) Moreover, under oath at his rearraignment hearing, Araujo swore to this

Court that all of the facts set out in his factual resume were true. (CR No. 132 at 20.)

        Courts in this Circuit “generally will not allow a defendant to contradict his

testimony given under oath at a plea hearing.” McDaniels, 907 F.3d at 371. Nor will

courts credit a defendant’s mere “contrary assertions” after he has admitted, under oath,


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 It is further undermined by the statements of the parents of Araujo’s victims. As this Court recounted at
sentencing:

        This father of this child will live in anguish for the rest of his life. He sounds from his
        communication like a pariah in his own family, that he allowed you [Araujo] to abuse his
        son. There could be nothing worse than how he must feel about having left his child in
        your clutches to abuse him as you would. And there’s no erasing that. He’s going to take
        responsibility for that, as he probably should, that someone he knew not very well was in
        charge of his child. But he couldn’t have imagined the horror that would be subjected --
        that his son would be subjected to.

(CR No. 135 at 73-74.)

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to committing an element of the offense. See United States v. Smith, 945 F.3d 860, 864

(5th Cir. 2019) (affirming the denial of an ineffective-assistance claim based on counsel’s

failure to test the government’s proof on an element where the defendant admitted under

oath to satisfying that element). Applying those well-settled habeas principles here, this

Court should reject Araujo’s suggestion that an expert could determine that the child

pornography was “fake.”

       In sum, Araujo is entitled to no relief on his claim that his counsel was ineffective

for failing to hire a computer expert.

       D.     Araujo has failed to show that his counsel led him into an unknowing
              or involuntary plea.

       This Court should reject Araujo’s claim that his lawyer was ineffective for leading

him into an unknowing and involuntary plea because Araujo has failed to identify a

single piece of bad advice regarding the plea. Except one, all Araujo’s allegations are

fatally vague and conclusory. For example, Araujo alleges that his lawyer

“misrepresented material facts,” (CV No. 2 at 30), misinformed Araujo of the “likely

consequences of pleading guilty,” (id. at 29), and failed to inform him of the “substance

of the plea agreement,” (id.). Not once, however, does Araujo explain how he was

misled. He fails to identify a single fact that his counsel misrepresented, what his counsel

failed to tell him about the plea agreement’s “substance,” or how his counsel misled him

about the consequences of pleading guilty. Simply making “conclusory allegations” of

deficient performance and prejudice is insufficient to meet the Strickland test. Miller v.

Johnson, 200 F.3d 274, 282 (5th Cir. 2000). This Court should reject Araujo’s attempt to


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set aside his valid, bargained-for plea on the basis of his conclusory allegations of

ineffective assistance of counsel.

       Araujo does specifically complain that his lawyer told him that he would lose at

trial and be sentenced to life in prison, (CV No. 2 at 28), but Araujo cannot show that

such advice was erroneous. The evidence against Araujo was overwhelming, and a

conviction on all four counts at trial would have resulted in an advisory guideline range

of more than 86 years in prison—the functional equivalent of a life sentence. (See PSR

105.) As explained above, “a defense lawyer’s stern warnings about the client’s chances

of success at trial, the potential for prison time, and the lawyer’s potential withdrawal do

not compromise voluntariness.” Cothran, 302 F.3d a 284.

       Moreover, a review of this record leaves no doubt that Araujo’s plea was knowing

and voluntary. A guilty plea is valid only if entered voluntarily, knowingly, and

intelligently, “with sufficient awareness of the relevant circumstances and likely

consequences.” Bradshaw v. Stumpf, 545 U.S. 175, 183 (2005). A guilty plea is made

intelligently when the defendant has “real notice of the true nature of the charge against

him.” Bousley v. United States, 523 U.S. 614, 618 (1998) (internal quotation marks and

citation omitted). A guilty plea is voluntary if it does not result from force, threats,

improper promises, misrepresentations, or coercion. United States v. Amaya, 111 F.3d

386, 389 (5th Cir. 1997). The Fifth Circuit has identified three core concerns in a guilty

plea proceeding: (1) the absence of coercion; (2) a full understanding of the charges; and

(3) a realistic appreciation of the consequences of the plea. United States v. Gracia, 983

F.2d 625, 627-28 (5th Cir. 1993).

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       At rearraignment, this Court made sure that Araujo understood the elements of the

offenses to which he was pleading guilty. (CR No. 132 at 13-14.) Under oath, he

affirmed that he understood. (Id. at 13.) This Court also explained the mechanics of

federal sentencing—including the statutorily-prescribed penalty ranges, the role of the

advisory guidelines, and the discretion of the sentencing judge. (Id. at 10-11, 16-17.)

Araujo swore that he understood those explanations, too. (Id. at 11-12, 17-18.) And he

swore that his plea was not the result of any promises or coercion. (Id. at 15.) On this

record, the Court should reject Araujo’s claim that his counsel led him into an unknowing

or involuntary plea.

       In sum, there is no merit to any of Araujo’s numerous claims of pre-plea

ineffective assistance.

2.     The Court should reject Araujo’s claims regarding counsel’s performance at
       sentencing.

       This Court should reject as conclusory Araujo’s claim that his counsel “did not

properly review, discuss, [or] explain the PSR adequately.” (Cf. CV No. 2 at 31.) Araujo

concedes that he and his lawyer went over his PSR, (see id.), and he fails to identify any

information that his lawyer omitted from that discussion. Moreover, Araujo has made no

attempt to explain how his counsel’s alleged failures caused him prejudice. Araujo’s bald

allegations of inadequate representation do not raise a constitutional issue, see Miller, 200

F.3d at 282, and this Court should summarily reject them.

       Araujo next claims that his counsel failed to (1) move for a downward variance,

(CV No. 2 at 32), (2) “defend him,” (id. at 31), (3) offer a report from Araujo’s expert


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purporting to show that his risk of reoffending was low, (id. at 32), and (4) “argue

objections to the PSR,” (id. at 33). But the record contradicts each of these four claims—

indeed, counsel took every action about which Araujo now complains.

       Araujo’s counsel filed a sentencing memorandum and a request for a downward

variance—and the Court reviewed both as it prepared to impose the sentence in this case.

(See CR No. 135 at 11 (“I have Mr. Araujo’s sentencing memorandum and request for

downward variance.”).) Araujo’s counsel objected to the PSR. Indeed, the government

agreed with that objection, and the Court accepted it—even so, Araujo’s offense level

still exceeded 43. (See id. at 6-7.)

       And Araujo’s counsel both submitted a report from Dr. Flynn, (see CR No. 135 at

33), and offered him as an expert at the sentencing hearing, where he testified that Araujo

represented a low risk of reoffending, (id. at 18-49). This Court disagreed with Dr.

Flynn’s conclusion, (id. at 62), but the fact that counsel’s arguments were not successful

does not make him ineffective. See Youngblood v. Maggio, 696 F.2d 407, 410 (5th Cir.

1983). Because Araujo has failed to show deficient performance, this Court should

summarily reject his claims of ineffective assistance at sentencing.

       Araujo’s claims fail for a second reason: He has made no real effort to establish

prejudice. Araujo’s conclusory allegation—that, had his counsel performed differently,

there is a “reasonable probability that Araujo would have received a less harsh sentence,”

(CV No. 2 at 33)—is both insufficient as a matter of law and overwhelmingly belied by

the record. The sentencing hearing transcript spans 84 pages. (See generally CR No.

135.) It makes clear that this Court carefully considered all of the arguments about which

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Araujo now complains and thoughtfully balanced the factors set out in 18 U.S.C. §

3553(a). (Id. at 73-77.) In doing so, this Court varied downward by 120 months from the

sentence recommended by the guidelines. (See id. at 76 (“That is a substantial variance

in terms of the number of years, Ms. Hoxie. I recognize that. But that’s still a very long

sentence, and the Court considers that to be an appropriate difference between the

sentence that the Court has imposed on Mr. Mack and the sentence that I am imposing on

Mr. Araujo.”).) On this record, Araujo cannot show that any additional argument would

have resulted in an even lower sentence. Nor can he show that his counsel should have

objected to the Court’s sentence as “substantively unreasonable” given that a within-

guideline sentence would be presumptively reasonable, and he received a sentence even

lower than that. (Cf. CV No. 2 at 32); see also United States v. Ruiz, 621 F.3d 390, 398

(5th Cir. 2010) (noting that a within-guideline sentence is presumptively reasonable).

3.     Araujo has failed to show that he received ineffective assistance on appeal.

       Araujo complains that appellate counsel did not adequately consult with him in a

manner that permitted him to participate in his appeal, and he claims that there were a

“plethora” of issues that could have been raised, but he identifies only three: (1) the

knowing and voluntary nature of his guilty plea, (2) a purported error to advise him under

Rule 11, and (3) a purported failure to comply with Rule 32 at sentencing.

       Appellate counsel “does not need to raise every nonfrivolous ground of appeal

available.” United States v. Williamson, 183 F.3d 458, 462 (5th Cir. 1999). Instead,

counsel must identify only “[s]olid, meritorious arguments based on directly controlling

precedent.” Id. As previously discussed, the record shows that Araujo’s guilty plea was

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knowing and voluntary. (See supra p. 12.) Any direct appeal challenging the knowing

and voluntary nature of his plea would have failed in light of his sworn statements at

rearraignment. See Cothran, 302 F.3d at 284. Araujo’s counsel was not constitutionally

ineffective for refusing to present that frivolous argument to the Fifth Circuit.

       Araujo also complains that his counsel failed to appeal from alleged violations of

Rule 11. (CV No. 2 at 34.) But there was no Rule 11 violation, so there was no basis to

appeal. Araujo complains that this Court failed to follow the strictures of Rule 11(c)(3)

by failing to “explicitly advise” him that the Court could accept, reject, or defer ruling on

the plea. (CV No. 2 at 36.) The plain language of Rule 11(c)(3)(A) does not require that

the Court “explicitly advise” the defendant of its options. Rather, the Rule merely sets

out a district court’s options when faced with a plea agreement under Rule 11(c)(1)(A) or

11(c)(1)(C). Under the Rule, the court may “the court may accept the agreement, reject

it, or defer a decision until the court has reviewed the presentence report.” Moreover,

even if there was error (there was not), it would be reviewed only for plain error on

appeal. See, e.g., United States v. Dominguez Benitez, 542 U.S. 74, 83 (2004) (holding

that “that a defendant who seeks reversal of his conviction after a guilty plea, on the

ground that the district court committed plain error under Rule 11, must show a

reasonable probability that, but for the error, he would not have entered the plea”). He

can show no probability that he would have rejected the plea but for any purported failure

to explicitly advise him that the district court could accept or reject the plea. His counsel

was not ineffective for failing to press that frivolous argument.



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       Araujo similarly complains that the Court failed to “inform” him that the

disposition would be reflected in the Court’s judgment—a violation, he purports, of Rule

11(c)(4). Even if Araujo could establish a technical violation of Rule 11(c)(4), that

would not amount to plain error so as to prevail on appeal. See United States v. Fripp,

No. 09-4541, 2010 WL 283043, at *1 (4th Cir. 2010) (“[T]he district court substantially

complied with Rule 11 in accepting Fripp’s plea, and the court’s failure to inform Fripp

that ‘the agreed disposition will be included in the judgment,’ see Fed. R. Crim. P.

11(c)(4), did not amount to plain error.”); see also United States v. Trowbridge, 335 F.

App’x 416, 418 (5th Cir. 2009) (“Even if the district court failed to comply with the

requirements of Fed. R. Crim. P. 11(c)(4) insofar as the plea agreement provided that the

Government would not bring any other charges, there is nothing in the record to indicate

that the Government has filed or intends to file any other charges against Trowbridge.

Trowbridge has failed to show that, but for the Rule 11 error, he would not have pleaded

guilty.”).

       Araujo fails to show why or how being advised that this court’s judgment would

reflect the terms spelled out in his plea agreement would have impacted him whatsoever,

and thus he fails to show that this was a meritorious issue for appeal. That is especially

true where Araujo’s plea agreement made clear that the government would move to

dismiss the remaining counts of the indictment, (CR No. 54 at 6, ¶ 9), and Araujo

admitted that he understood as much, (CR No. 132 at 15). (See also CR No. 132 at 15

(“Do you understand if your guilty pleas are accepted you will be adjudged guilty of

Counts One and Four of the superseding indictment[?]”). Because Araujo was fully

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aware that, if the Court accepted the agreement, the dismissed counts would be reflected

in the Court’s judgment, he could not prevail on plain error review. See Dominguez

Benitez, 542 U.S. at 83.

       Moreover, because Araujo could not make any colorable argument that a technical

failure to follow Rule 11(c)(4) rendered his plea either unknowing or involuntary, any

appeal that this Court erred under that Rule would have been barred by the waiver

provision in his plea agreement. (CR No. 54 at 6, ¶ 12.) Therefore, Araujo cannot show

that his appellate counsel was constitutionally ineffective for failing to raise that

argument.

       Finally, Araujo claims that his counsel should have appealed on the basis that this

Court violated Rule 32 at sentencing by to confirm (1) that Araujo timely received the

PSR, and (2) had read the PSR. This Court complied with Rule 32 at sentencing. (See

CR No. 135 at 10.) And any appeal arguing otherwise would have been summarily

dismissed on account of Araujo’s appeal waiver. See, e.g., United States v. Eikelboom,

609 F. App’x 224, 225 (5th Cir. 2015) (dismissing as waived claims of Rule-32 error).

Araujo cannot show that his counsel was deficient for failing to argue otherwise, nor can

he show any likelihood of a different result had counsel pressed these meritless claims on

appeal.




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                                      CONCLUSION

       The motion should be denied.

                                                   Respectfully submitted,

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                             CERTIFICATE OF SERVICE

       I certify that on April 6, 2020, I filed this response with the clerk of court for the

U.S. District Court, Northern District of Texas. I also certify that a copy of this response

was sent to Javier Giovanni Araujo, Register Number 55034-177, Coleman II USP, P.O.

Box 1034, Coleman, Florida 33521, by certified mail.

                                                   s/ Jonathan Bradshaw
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